       Case 1:20-cv-00969-DAE Document 113-1 Filed 06/24/22 Page 1 of 9




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

CHARLES TOWNSLEY, et al.,             )
                                      )
       Plaintiffs,                    )
v.                                    )   Case No. 1:20-cv-00969-DAE
                                      )
INTERNATIONAL BUSINESS                )
MACHINES CORPORATION,                 )
                                      )
        Defendant.                    )


      DEFENDANT INTERNATIONAL BUSINESS MACHINES CORPORATION’S
     REPLY IN SUPPORT OF ITS MOTION TO EXCLUDE EXPERT REPORT AND
                      TESTIMONY OF MARK RAMBIN




                                EXHIBIT 1
       Case 1:20-cv-00969-DAE Document 113-1 Filed 06/24/22 Page 2 of 9




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

 CHARLES TOWNSLEY, et al.,                       )
                                                 )
        Plaintiffs,                              )
 v.                                              )     Case No. 1:20-cv-00969-DAE
                                                 )
 INTERNATIONAL BUSINESS                          )
 MACHINES CORPORATION,                           )
                                                 )
            Defendant.                           )

                         DECLARATION OF ANDREW BROADAWAY

       1.       I am a Partner at Cornell Smith Mierl Brutocao Burton, LLP. I am serving as

counsel of record for Defendant International Business Machines Corporation (“IBM”) in the

above-captioned matter. I make this statement based on my personal knowledge and familiarity

with the discovery documents in this matter. I am over 18 years old and am otherwise competent

to make this declaration.

       2.       Attached as Exhibit A to this declaration is a true and correct copy of excerpts of

the deposition transcript of Michael Sauro, which was taken on November 30, 2021.



       My full name is Andrew Broadaway, and my work address is Cornell Smith Mierl Brutocao

Burton, LLP, 1607 West Avenue, Austin, Texas 78701.

       I declare under penalty of perjury that the foregoing is true and correct. Executed in Travis

County, State of Texas, on the 24th day of June, 2022.



                                              Signed: _      /s/Andrew Broadaway________
                                                             Andrew Broadaway




Declaration of Andrew Broadaway                                                                   1
       Case 1:20-cv-00969-DAE Document 113-1 Filed 06/24/22 Page 3 of 9




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

CHARLES TOWNSLEY, et al.,             )
                                      )
       Plaintiffs,                    )
v.                                    )   Case No. 1:20-cv-00969-DAE
                                      )
INTERNATIONAL BUSINESS                )
MACHINES CORPORATION,                 )
                                      )
        Defendant.                    )


      DEFENDANT INTERNATIONAL BUSINESS MACHINES CORPORATION’S
     REPLY IN SUPPORT OF ITS MOTION TO EXCLUDE EXPERT REPORT AND
                      TESTIMONY OF MARK RAMBIN




                         EXHIBIT A to Exhibit 1
Case 1:20-cv-00969-DAE Document 113-1 Filed 06/24/22 Page 4 of 9




          Transcript of the Testimony of
                 Michael Sauro
                       November 30, 2021

Charles Townsley, et al. v. International Business Machines
                        Corporation




                                                  Givens Court Reporting
                                                  sgivens@austin.rr.com
                                                         (512) 301-7088
     Case 1:20-cv-00969-DAE Document 113-1 Filed 06/24/22 Page 5 of 9

                    IN THE UNITED STATES DISTRICT COURT                                 1                      A P P E A R A N C E S
                     FOR THE WESTERN DISTRICT OF TEXAS                                  2
                              AUSTIN DIVISION                                                FOR THE PLAINTIFFS:
                                                                                        3
     CHARLES TOWNSLEY, MICHAEL                    §
                                                                                                  Ms. Heidi A. Coughlin
                                                                                        4         WRIGHT & GREENHILL, PC
     SAURO, WALTER NOFFSINGER,                    §
                                                                                                  900 Congress Avenue
     ROSA DAVIDSON, MICHAEL                       §                                     5         Suite, 500
     KELLY, TITON HOQUE, JANET                    §                                               Austin, Texas 78701
     GELPHMAN, THANH DO,                          §                                     6         (512) 476-4600
                                                  §                                               hcoughlin@w-g.com
              Plaintiffs,                         §          CASE NUMBER                7
                                                  §       1:20-CV-00969-LY
                                                                                                  Mr. Austin Harris Kaplan
                                                                                        8         KAPLAN LAW FIRM, PLLC
     v.                                           §
                                                                                                  2525 Wallingwood Drive
                                                  §                                     9         Building 14
     INTERNATIONAL BUSINESS                       §                                               Austin, Texas 78746
     MACHINES CORPORATION,                        §                                    10         (512) 553-9390
                                                  §                                               akaplan@kaplanlawatx.com
              Defendants.                         §                                    11         (Via Speakerphone)
                                                                                       12
                                                                                             FOR THE DEFENDANT:
      *   *     *    *   *    *   *   *   *   *       *    *   *   *   *   *   *   *
                                                                                       13
                                                                                                  Mr. Edward M. "Ted" Smith
                     THE VIDEOTAPED ORAL DEPOSITION OF                                 14         CORNELL SMITH MIERL BRUTOCAO BURTON, LLP
                               MICHAEL SAURO                                                      1607 West Avenue
                             November 30, 2021                                         15         Austin, Texas 78701
                                                                                                  (512) 328-1540
      *   *     *    *   *    *   *   *   *   *       *    *   *   *   *   *   *   *
                                                                                       16         tsmith@cornellsmith.com
                                                                                       17
                                                                                             VIDEOGRAPHER:
               THE VIDEOTAPED ORAL DEPOSITION OF MICHAEL                               18
     SAURO, produced as a witness at the instance of the                                          Mr. Hank Wisrodt
     Defendant and duly sworn, was taken in the above styled                           19         3stix Productions
     and numbered cause on the 30th day of November 2021,                              20
     from 9:35 a.m. to 11:46 a.m. and from 12:46 p.m. to                               21
     2:44 p.m., respectively, before Sandra S. Givens, CSR,
                                                                                       22
                                                                                       23
     in and for the State of Texas, reported by machine
                                                                                       24
     shorthand method at the law offices of Wright &                                   25

                                                                           Page 1                                                       Page 3

1     Greenhill, 900 Congress Avenue, Suite 500, Austin,                               1                          I N D E X
                                                                                       2
2     Texas 78701,           pursuant to the Federal Rules of Civil                         Appearances - - - - - - - - - - - - - - - - - - - - - 3
3     Procedure.                                                                       3
                                                                                            Exhibits - - - - - - - - - - - - - - - - - - - - - -       4
4                                                                                      4
                                                                                            MICHAEL SAURO
5                                                                                      5
6                                                                                              Examination by Mr. Smith - - - - - - - - - - - - - 6
                                                                                       6
7                                                                                           Changes and Signature - - - - - - - - - - - - - - - 169
                                                                                       7
8                                                                                           Reporter's Certification - - - - - - - - - - - - -     171
9                                                                                      8
                                                                                       9
10                                                                                                             E X H I B I T S
                                                                                       10
11
                                                                                       11   NO. DESCRIPTION                                   PAGE
12                                                                                     12   Exhibit 1 - - - - - - - - - - - - - - - - - - - - - 44
                                                                                               Plaintiff Michael Sauro's Responses to
13                                                                                     13      Defendant's Request for Production of
                                                                                               Documents
14
                                                                                       14
15                                                                                          Exhibit 2 - - - - - - - - - - - - - - - - - - - - - 53
                                                                                       15      Plaintiff's First Amended Complaint
16                                                                                     16   Exhibit 3 - - - - - - - - - - - - - - - - - - - - - 56
                                                                                               Plaintiff Michael Sauro's Answers to
17
                                                                                       17      Defendant's First Set of Interrogatories
18                                                                                     18   Exhibit 4 - - - - - - - - - - - - - - - - - - - - - 78
                                                                                               IBM CONFIDENTIAL: 2017 Performance Assessment
19                                                                                     19      for Michael Sauro
                                                                                       20   Exhibit 5 - - - - - - - - - - - - - - - - - - - - 103
20
                                                                                               2020 1099 from Sedera, Inc.
21                                                                                     21
                                                                                            Exhibit 6 - - - - - - - - - - - - - - - - - - - -    106
22                                                                                     22      2019 Tax History Report
                                                                                       23   Exhibit 7 - - - - - - - - - - - - - - - - - - - -    108
23
                                                                                               2016-2018 Tax Return Comparison
24                                                                                     24
                                                                                            Exhibit 8 - - - - - - - - - - - - - - - - - - - -    110
25                                                                                     25      2019 Federal Information Worksheet


                                                                           Page 2                                                       Page 4

                                                                                                                  1 (Pages 1 to 4)
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              Case 1:20-cv-00969-DAE Document 113-1 Filed 06/24/22 Page 6 of 9

1    Exhibit 9 - - - - - - - - - - - - - - - - - - - - 112             1         Q       My name is Ted Smith, and I represent IBM in
        2019 Personal Information Worksheet for the
                                                                       2    a lawsuit that's been brought by yourself and a couple
2       Taxpayer
3    Exhibit 10 - - - - - - - - - - - - - - - - - - - - 114            3    of other employees.       Our purpose here today is for me
        Michael Sauro Resume
                                                                       4    to ask you some questions under oath about your
4       CONFIDENTIAL
5    Exhibit 11 - - - - - - - - - - - - - - - - - - - - 123            5    understanding of your case, your experiences at IBM and
        IBM Corporate Policy 117 - Workplace Diversity
6                                                                      6    that kind of thing.
     Exhibit 12 - - - - - - - - - - - - - - - - - - - - 137            7         A       Okay.
7       3/29/18 RA Notification Email from Kimberly
        Siegel to Michael Sauro with Attachments                       8         Q       And do you understand that you are under oath
8       CONFIDENTIAL                                                   9    this morning?
9    Exhibit 13 - - - - - - - - - - - - - - - - - - - - 146
        IBM CONFIDENTIAL - Guidelines for Completing                   10        A       I do.
10      U.S. Identification Worksheet - January 2018.                  11        Q       And although we're sitting in your attorney's
        January 2020. Worksheet re: Michael Sauro
11      Prepared/Approved by Kim Siegel; Reviewed/                     12   conference room in her office, do you understand that
        Approved by William Kribbs                                     13   your testimony here today carries the same weight as if
12
     Exhibit 14 - - - - - - - - - - - - - - - - - - - - 155            14   we were sitting in a courtroom?
13      Job Application Emails from Schwab, Conduent,
                                                                       15        A       I do.
        Amazon, Whole Foods Market, Indeed
14                                                                     16        Q       Have you ever had your deposition taken
     Exhibit 15 - - - - - - - - - - - - - - - - - - - - 156
                                                                       17   before?
15      IBM Job Posting Preview, Program Manager -
        Object Storage                                                 18        A       I have.
16      CONFIDENTIAL
                                                                       19        Q       What, in what kind of case?
17   Exhibit 16 - - - - - - - - - - - - - - - - - - - - 165
        EEOC Charge of Discrimination                                  20        A       When I was getting a divorce.
18
                                                                       21        Q       And when was that?
19
20                                                                     22        A       2017, I believe.
21
22                                                                     23        Q       And so you've been through this process
23                                                                     24   before?
24
25                                                                     25        A       Yes.


                                                        Page 5                                                               Page 7

1                           VIDEOGRAPHER:     Here begins tape 1       1         Q       Did that divorce matter go to trial?

2    of the video deposition of Michael Sauro.        Today's date     2         A       No.

3    is November 30th, 2021, and the time is 9:35 a.m.          Will   3         Q       Are you married currently?

4    counsel please identify themselves for the record?                4         A       No.

5                           MS. COUGHLIN:     Heidi Coughlin with      5         Q       Do you have any children?

6    Wright & Greenhill on behalf of the plaintiff Michael             6         A       Yes.

7    Sauro.                                                            7         Q       Are you still financially responsible for

8                           MR. SMITH:     Ted Smith on behalf of      8    them in any way?

9    the defendant IBM.                                                9         A       No.

10                          VIDEOGRAPHER:     And will the court       10        Q       So since I know you've been through this

11   reporter please swear in the witness.                             11   process before I won't bore you too much with the

12                          (At this time the witness was              12   ground rules, but I just want to make sure that we're

13   sworn in.)                                                        13   on the same page on it.

14                          MS. COUGHLIN:     Oh, madam court          14        A       Okay.

15   reporter, before we get started I'd like to read and              15        Q       You're doing a good job of answering

16   sign, or my client would like to read and sign, and               16   verbally.     It's very important to do that so that the

17   then moving forward on all these depositions we'd like            17   court reporter here can take down everything that

18   to do that.     Thank you.   Go ahead.                            18   you're saying.       It's very difficult for her to take

19                                                                     19   down a nod of the head or something like that.

20                          MICHAEL SAURO,                             20        A       Okay.

21   having been first duly sworn, testified as follows:               21        Q       Likewise, it's very difficult for her also to

22                           EXAMINATION                               22   take down a response such as uh-huh or huh-uh, things

23   BY MR. SMITH:                                                     23   like that.

24       Q    Thank you.     Mr. Sauro, Good morning.                  24        A       Okay.

25        A       Good morning.                                        25        Q       So to the extent that you can, if you can


                                                        Page 6                                                               Page 8

2 (Pages 5 to 8)
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1    recessed for lunch, continuing at 12:46 p.m.)                   1        Q      Were -- did you charge them a fee?      Did they

2                           VIDEOGRAPHER:    We are back on the      2   give you a salary?

3    record at 12:46.    This begins tape 3.                         3        A      Oh, yes.     An, an hourly rate.

4        Q     (By Mr. Smith)    Mr. Sauro, have you had an          4                            (Exhibit No. 5 marked.)

5    opportunity to take a break?                                    5        Q      (By Mr. Smith)      So Mr. Sauro, I've handed you

6         A     Yes.                                                 6   what's been marked as Exhibit No. 5.        Have you seen

7        Q     Are you ready to proceed?                             7   that document before?

8         A     I am.                                                8        A      Yes, I have.

9        Q     And I would just remind you that you're still         9        Q      Is this a tax document from 2020 that you

10   under oath.                                                    10   provided?

11        A     Okay.                                               11        A      Yes.

12       Q     Where are you currently working?                     12        Q      And it shows compensation in 2020 of $4,250;

13        A     I am not working.      I was at Sedera, and in      13   is that correct?

14   August they notified me that they were rolling off all         14        A      Yes.

15   their vendors.                                                 15        Q      Is that the amount of money that you earned

16       Q     And what, what does Sedera do?                       16   providing services to Sedera?

17        A     They are -- it's hard to explain, but it's          17        A      Yes.

18   like a -- it's, it's an -- it's kind of like a                 18        Q      We haven't received any updated information,

19   healthcare insurance company, but it really isn't.             19   that I'm aware of, for 2021.        Do you have an estimate

20   They don't want to be known as an insurance company,           20   as to how much you made in 2021 with Sedera?

21   but it's the best way to understand what they do.              21        A      I don't have an estimate.

22                          MS. COUGHLIN:    I'm sorry.   We have   22        Q      Did you work anywhere else besides Sedera

23   to get off so that I can --                                    23   in -- since you've been employed at IBM?

24                          MR. SMITH:    Sure.                     24        A      No.

25                          VIDEOGRAPHER:    Do you want to go      25        Q      When you left IBM did you apply for


                                                   Page 101                                                             Page 103

1    off the record?                                                1    unemployment benefits?

2                           MS. COUGHLIN:    Just a...              2         A      Yes, I did.

3                           VIDEOGRAPHER:    Off the record at      3         Q      Did you receive them?

4    12:47.                                                         4         A      Yes, I did.

5                           (At this time the proceedings went      5         Q      Do you know how much you received?

6    momentarily off the record.)                                   6         A      I do not.

7                           VIDEOGRAPHER:    We're back on the      7         Q      Do you know if you received the enhanced

8    record at 12:48.                                               8    federal benefits due to COVID?

9        Q     (By Mr. Smith)    And what kind of work did you      9         A      No.     I think my unemployment ended before

10   do for Sedera?                                                 10   that, before the COVID hit.

11        A     So I was hired to, I would say, to do two           11        Q      Okay.    Other than the unemployment benefits,

12   things:   One was to mentor the project managers, and          12   did you have any other source of income -- well, let's,

13   the other thing was to help them make some process             13   let's start in -- between 2018 and 2019?

14   improvements.                                                  14        A      At some point I started collecting a pension

15       Q     Okay.    And were you hired as an employee or        15   from IBM.

16   as a contractor?                                               16        Q      How much do you get monthly for the pension?

17        A     Contractor.                                         17        A      Three -- approximately $3,000.

18       Q     And how long did you provide contracting             18        Q      $3,000 per month?

19   services for Sedera?                                           19        A      Per month.

20        A     I started in January of 2020.                       20        Q      Okay.    So approximately $36,000 per year?

21       Q     And you worked there -- or you provided              21        A      Yes.

22   services there until just recently?                            22        Q      And is that a lifetime pension?

23        A     Till August.    Yes.                                23        A      I believe it is.

24       Q     Okay.    How were you paid there?                    24        Q      Have you withdrawn any money from any

25        A     Can -- I'm not sure what you mean by "how."         25   retirement vehicles that you have?


                                                   Page 102                                                             Page 104

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     Case 1:20-cv-00969-DAE Document 113-1 Filed 06/24/22 Page 8 of 9

 1                    CHANGES AND INSERTIONS                    1                IN THE UNITED STATES DISTRICT COURT

 2                           MICHAEL SAURO                                        FOR THE WESTERN DISTRICT OF TEXAS
                                                                2                             AUSTIN DIVISION
 3                      November 30, 2021
                                                                3
 4                                                                   CHARLES TOWNSLEY, MICHAEL           §

 5   PAGE    LINE   CHANGE                             REASON   4    SAURO, WALTER NOFFSINGER,           §
                                                                     ROSA DAVIDSON, MICHAEL              §
 6   _______________________________________________________
                                                                5    KELLY, TITON HOQUE, JANET           §
 7   _______________________________________________________         GELPHMAN, THANH DO,                 §
 8   _______________________________________________________    6                                        §
                                                                             Plaintiffs,                 §       CASE NUMBER
 9   _______________________________________________________
                                                                7                                        §   1:20-CV-00969-LY
10   _______________________________________________________         v.                                  §
11   _______________________________________________________    8                                        §
                                                                     INTERNATIONAL BUSINESS              §
12   _______________________________________________________
                                                                9    MACHINES CORPORATION,               §
13   _______________________________________________________                                             §
14   _______________________________________________________    10           Defendants.                 §
                                                                11                    REPORTER'S CERTIFICATION OF THE
15   _______________________________________________________
                                                                12                    ORAL DEPOSITION OF MICHAEL SAURO
16   _______________________________________________________    13                           November 30, 2021
17   _______________________________________________________    14           I, Sandra S. Givens, Certified Shorthand Reporter
                                                                15   in and for the State of Texas, hereby certify to the
18   _______________________________________________________
                                                                16   following:
19   _______________________________________________________    17           That the witness, MICHAEL SAURO, was duly sworn by
20   _______________________________________________________    18   the officer and that the transcript of the oral
                                                                19   deposition is a true record of the testimony given by
21   _______________________________________________________
                                                                20   the witness;
22   _______________________________________________________    21           That the original deposition transcript was
23   _______________________________________________________    22   submitted to: MICHAEL SAURO in care of his attorney,
                                                                23   Heidi A. Coughlin;
24   _______________________________________________________
                                                                24           That a copy of this certificate was served on all
25   _______________________________________________________    25   parties and/or the witness shown herein on          December 6,


                                                  Page 169                                                            Page 171

 1                   ACKNOWLEDGMENT OF DEPONENT                 1    2021.

 2                                                              2            I further certify that pursuant to FRCP Rule

 3          I, MICHAEL SAURO, do hereby certify that I have     3    30(f)(1) that the signature of the deponent was

 4   read the foregoing pages and that the same is a correct    4    requested by the deponent's attorney before the
                                                                5    completion of the deposition and that the transcript be
 5   transcription of the answers given by me to the
                                                                6    returned within 30 days from the date of receipt.          If
 6   questions therein propounded, except for the
                                                                7    returned, the attached Changes and Signature page
 7   corrections or changes in form or substance, if any,
                                                                8    contains any changes and the reasons therefor:
 8   noted in the attached Changes and Insertions page
                                                                9            That $                 is the deposition officer's
 9   (Errata).
                                                                10   charges to the Defendant for preparing the original
10                                                              11   deposition transcript and any copies of exhibits;
11                                                              12           That the amount of time used by each party at the
12                                                              13   deposition is as follows:
13                                MICHAEL SAURO                 14           Edward M. (Ted) Smith - 3 hours, 23 minutes

14                                                                           Heidi A. Coughlin - 0 minutes

15                                DATE                          15           Austin Harris Kaplan - 0 minutes
                                                                16           That pursuant to information given to the
16
                                                                17   deposition officer at the time said testimony was
17
                                                                18   taken, the following includes counsel for all parties
18
                                                                19   of record:
19
                                                                20           Edward M. (Ted) Smith - Attorney for Defendant
20
                                                                             Heidi A. Coughlin - Attorney for Plaintiffs
21
                                                                21           Austin Harris Kaplan - Attorney for Plaintiffs
22                                                              22           I further certify that I am neither counsel for,
23                                                              23   related to, nor employed by any of the parties or
24                                                              24   attorneys in the action in which this proceeding was

25                                                              25   taken, and further, that I am not financially or


                                                  Page 170                                                            Page 172

                                                                                      43 (Pages 169 to 172)
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             Case 1:20-cv-00969-DAE Document 113-1 Filed 06/24/22 Page 9 of 9

1    otherwise interested in the outcome of the action.
2         Certified to by me this 6th day of December 2021.
3
                             GIVENS COURT REPORTING
4                            6549 Fair Valley Trail
                             Austin, Texas 78749
5                            (512) 301-7088
6
7
8                            SANDRA S. GIVENS, CSR
                             Certification No. 5000
9    # sg-1913               Certificate Expires 1/31/22
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